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aed WER RRET CouRT UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS
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(Enter above the full name

of the plaintiff or plaintiffs in
this action)
4:22-cv-01638
vs. Wood / Gilbert
, : PC2
Covnseloy Mart wez. DIRECT
Tow Dart
Jane Doe Nurse
(Enter above the full name of ALL
defendants in this action. Do not
use “et al.'’)
CHECK ONE ONLY:
x COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983

U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO “INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

[If you need additional space for ANY section, please attach an additional sheet and reference that section.)

SM

Coase: 1t 22-0 COB Dnourrearit##: 71 Fribed : OG 297222 Pepe 2 ct Pee DHS

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Plaintiff(s):

5 Aa Ww Pp

E.

Name: Choisy bon Weer Javier Mans oori

List all aliases: N | A

Prisoner identification number: _*&0\41007\ 44

Place of present confinement: Log)e Covn N dar)

Address: > 100 Se California Clicayo Ck 6.060%

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, LD.
number, place of confinement, and current. address according to the above format on a
separate sheet of paper.)

Defendant(s):

(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

_ A.

Defendant Counselor Mart nex

Title: _Covmelor

Place of Employment: Cool, Coun ty ya) )
Defendant: VOW Dart

‘dae »y < f Vr ch?
Title: Tor Shenff, LOOK Cavwhy —

Place of Employment: Cos & Cou nty

Defendant: Jane Dat

Title: Nuyte

Place of Employment: Cons Cont Jail, Leywak Medical 2ervige)

(If you have more than three defendants, then all additional defendants must be listed.
according to the above format on a separate sheet of paper.)

2 . Revised 9/2007

[If you need additional space for ANY section, please attach an additional sheet and reference that section.}

Coase: 1t 22-0 COB Dn urrearit##: 71 Fribed : OG 297222 Pepe 3 cht Z22 Pee DHHS

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IM. List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

‘A. Name of case and docket number: Clu iSbop her Vanooori vo Patel
OV ree

B. Approximate date of filing lawsuit: Delember 2 20\)

C. List all plaintiffs (if you had co-plaintiffs), including any aliases: _C Vapisty phe
M au S Bors

D. List all defendants: _ Pav. Mca wins, Miculleg ta, Wr, pha uly
De Mi nrg uners etc. ali !

E., Court in which the lawsuit was filed (if federal court, name the district; ifstate court, —
name the county): Frarral love i Northern Dis Heit £4 stern Divisigin

F. Name of judge to whom case was assigned: Aw dyea Wood

G. Basic claim made:_pi\ Sat" cignts/ cont Mons igla bivins

FE. Disposition of this case (for example: Was the case dismissed? Was it appealed? —
Is it still pending?): _pevisinu, wark 4 for Ju \gt Weol ta rule

Li tht State iho hinn,/

rdf
IL. Approximate date of disposition: jit

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 Revised 9/2007

[lf you need additional space for ANY section, please attach an additional sheet and reference that sectlon.}

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E Federal Court, Northern Distt: Ct Eastern Divison

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Case: 1:22-cv-01638 Document #: I Filed: 02/29/22 Page 10 of 22 PagelD #:48

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BR, Christopher Mans dor vs, Mo. Milly eal Cayett dl-ev- 06374

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Case: 1:22-cv-01638 Document #: 7 Filed: 03/29/22 Page 13 of 22 PagelD #:48

{if you need additional space for ANY section, please attach an additional sheet and reference that section.]

IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each claim in a separate paragraph. (Use as much space as you need. ‘Attach extra sheets

if necessary.)

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Case: 1:22-cv-01638 Document #: Z Filed: 03/29/22 Page 16 of 22 PagelD #:46

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Case: 1:22-cv-01638 Document #: I Filed: 02/29/22 Page 17 of 22 PagelD #:50

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V. Relief:

State briefly exactly what you want the court to do for you, Make no legal arguments. Cite
no cases or statutes.

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VI. ‘The plaintiff demands that the case be tried by a jury. MY ve O NO

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. I understand that if this certification is not correct, I may be
subject to sanctions by the Court.

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(Signature of plaintiff or plaintiffs)

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